      Case 2:09-cv-00648-WKW-WC Document 1 Filed 07/10/09 Page 1 of 16




                         UNITED STATES DISTRICT COURT
                      FOR THE MH*LR1ISTRLCT OF ALABAMA
                              NORTHERN DIVISION
                                        JUL 0 P 3: 55
Willie C. Burden,                                )
                                   BE3A P. HACETT)CL
       Plaintiff                    U.S. DiSTRICT COURT
                                     fl F PV1CT 5LA

v.                                                     )      Civil Action No.: & 0 C.'I        (a4'   kW-1i)
                                                       )      Plaintiff Demands Jury Trial
Verizon Wireless, Inc., a foreign corporation,     )
Green Finance Company, a foreign                   )
company, Equifax Information Services, LLC, )
a foreign limited liability company, Experian      )
Information Solutions, Inc., a foreign corporation,)
and Trans Union, LLC, a foreign limited            )
liability company,                                 )
                                                   )
         Defendants.                               )


                                          COMPLAINT

       COMES NOW Plaintiff, by and through the undersigned counsel, and would show unto

this Honorable Court as follows:

                                PRELIMINARY STATEMENT

1.     This Complaint seeks actual, compensatory, statutory and / or punitive damages,

       including injunctive and declaratory relief, brought by an individual consumer

       (hereinafter referred to as "Plaintiff) against Defendants, jointly and severally, for

       violations of the Fair Credit Reporting Act, 15 U.S.C. § 1681, et seq. (hereinafter referred

       to as "the FCRA"), the Alabama Deceptive Trade Practices Act, Ala. Code 1975, § 8-19-

       1, et seq. (hereinafter referred to as "the ADTPA"), and state common law causes of




                                              Page 1
     Case 2:09-cv-00648-WKW-WC Document 1 Filed 07/10/09 Page 2 of 16




     action.

                              JURISDICTION AND VENUE

2.   Jurisdiction of this Court arises under the FCRA, 15 U.S.C. § l68lp, 28 U.S.C. § 1331,

     and the doctrine of supplemental jurisdiction pursuant to 28 U.S.C. § 1367. Declaratory

     relief is available pursuant to 28 U.S.C. § 2201 and 2202. Defendants' violations of

     Plaintiff's rights, as alleged herein, occurred in crenshaw county, Alabama, and were

     committed within the Northern Division of the Middle District of Alabama.

                                           PARTIES

3.   Plaintiff Willie C. Burden (hereinafter referred to as "Plaintiff") is a natural person and a

     resident and citizen of Barbour County, the State of Alabama, and of the United States.

     Plaintiff is a "consumer" as that term is defined by the FCRA and Ala. Code 1975, § 8-

     19-3(2).

4.   Defendant Verizon Wireless, Inc. (hereinafter referred to as "Verizon" or "Defendant") is

     a foreign corporation licensed to furnish credit to consumers within the state of Alabama.

5.   Defendant Green Finance Company (hereinafter referred to as "Green Finance" or

     "Defendant") is a foreign company, a better denomination of which is unknown at the

     present time, furnishing credit to consumers within the state of Alabama.

6.   Defendant Equifax Information Services, LLC (hereinafter referred to as "Equifax" or

     "Defendant") is a foreign limited liability company licensed to do business within the

     state of Alabama. Equifax is a consumer reporting agency, as defined in section 168 la(f)

     of the FCRA, regularly engaged in the business of assembling, evaluating, and dispersing




                                             Page 2
           Case 2:09-cv-00648-WKW-WC Document 1 Filed 07/10/09 Page 3 of 16




           information concerning consumers for the purpose of furnishing consumer reports, as

           defined in section 168 la(d) of the FCRA, to third parties.

7.         Defendant Experian Information Solutions, Inc. (hereinafter referred to as "Experian" or

           "Defendant") is a foreign corporation licensed to do business within the state of

           Alabama. Experian is a consumer reporting agency, as defined in section 1681 a(f) of the

           FCRA, regularly engaged in the business of assembling, evaluating, and dispersing

           information concerning consumers for the purpose of furnishing consumer reports, as

           defined in section 1681 a(d) of the FCRA, to third parties.

8.         Defendant Trans Union, LLC (hereinafter referred to as "Trans Union" or "Defendant")

           is a foreign corporation licensed to do business within the state of Alabama. Trans Union

           is a consumer reporting agency, as defined in section 1681 a(f) of the FCRA, regularly

           engaged in the business of assembling, evaluating, and dispersing information

           concerning consumers for the purpose of furnishing consumer reports, as defined in

           section 1681 a(d) of the FCRA, to third parties.

                                          FACTUAL ALLEGATIONS

Defendants Verizon and Green Finance:

9.         Plaintiff incorporates by reference herein paragraphs one (1) through eight (8).

10.        On August 22, 2005 Plaintiff filed for debt relief under Title 11 of the United States

           Bankruptcy Code and was discharged on July 31, 2008.1



1
     United States Bankruptcy Court for the Middle District of Alabama, Case No.: 05-11739,




                                                        Page 3
      Case 2:09-cv-00648-WKW-WC Document 1 Filed 07/10/09 Page 4 of 16




11.   Notwithstanding the aforesaid, Defendants continue to report Plaintiff's accounts to one

      or more of the three national consumer reporting agencies (hereinafter referred to as

      "CRAs") as having current balances due and payable, rather than reflecting that such

      were discharged in bankruptcy.

12.   More specifically, Verizon reported, and continues to report, to Equifax, Experian and

      Trans Union that Plaintiff has outstanding balances with, and remains personally liable

      to, Verizon for the amounts of $1,016.00 and $461.00. In or around May 2009, Verizon

      reported to Equifax, Experian, and Trans Union that Plaintiff owed the sum of$l,016.00

      to that Defendant even though such account was included and discharged within

      Plaintiff's bankruptcy.

13.   Furthermore, Green Finance reported, and continues to report, to Equifax that Plaintiff

      has an outstanding balance with, and remains personally liable to, Green Finance for the

      amount of $603.00. In or around May 2009, Green Finance reported to Equifax that

      Plaintiff owed the aforesaid sum even though such account was included and discharged

      within Plaintiff's bankruptcy.

14.   Defendants continue to report that Plaintiff's accounts have been "placed for collection"

      and/or "charged off as bad debts".

15.   Defendants obtained knowledge of Plaintiff's discharge on at least two separate

      occasions, i.e., receipt of the BNC Certificate of Service - Meeting of Creditors and the

      BNC Certificate of Service - Order of Discharge, as the result of its inclusion within

      Schedule F - Creditor's Holding Unsecured Nonpriority Claims of Plaintiff's bankruptcy




                                            Page 4
      Case 2:09-cv-00648-WKW-WC Document 1 Filed 07/10/09 Page 5 of 16




      petition.

16.   Defendants have recklessly, intentionally, willfully and/or maliciously failed to

      implement reasonable procedures to insure that Plaintiffs accounts are reported as having

      "0" balances as contemplated by the Fair Credit Reporting Act. The FTC's Official Staff

      Commentary § 607 item 6 states that "a consumer report may include an account that was

      discharged in bankruptcy (as well as the bankruptcy itself), as long as it reports a zero

      balance due to reflect the fact that the consumer is no longer liable for the discharged

      debt." Acknowledging that the Federal Trade Commission's Staff Commentary lacks

      substantive precedential esteem it is persuasive in that it provides an explanation of the

      phrase "reasonable procedures."

17.   Notwithstanding that Defendants properly update numerous accounts each month they

      have negligently, intentionally, maliciously and/or willfully refused to do so with

      Plaintiff and other similarly situated consumers. More specifically, Defendants have a

      pattern or practice of failing and/or refusing to properly update credit files of consumers

      who have obtained debt relief through the U.S. Bankruptcy Code.

18.   As stated by the Honorable Judge William R. Sawyer of the United States Bankruptcy

      Court for the Middle District of Alabama, "[t]he sheer number of... cases [filed for a

      creditor's failure and/or refusal to update a discharged debtor's credit reports] may




                                             Page 5
        Case 2:09-cv-00648-WKW-WC Document 1 Filed 07/10/09 Page 6 of 16




        suggest that some creditors are systematically taking such action in an effort to diminish

        the value of a discharge in bankruptcy."2

19.     Defendants have promised, through their subscriber agreements or contracts with the

        CRAs to update accounts that have been discharged in bankruptcy but have willfully,

        maliciously, recklessly, wantonly, and/or negligently failed to follow this requirement as

        well as the requirements set forth under the FCRA, ADTPA, federal law and state law

        which has resulted in this information remaining on Plaintiff's credit reports.

20.     Defendants have a tendency to "park" their accounts on at least one of Plaintiffs credit

        reports. This industry-specific term refers to keeping a false balance on the credit report

         so that the consumer will be forced to pay off the balance in order to obtain refinancing,

         qualify for a loan, or increase the consumer's credit score from the artificially lowered

         score which directly resulted from the Defendant's unlawful conduct.

21.     Defendants have agreed to and understand they must follow the requirements of the

        FCRA including, but not limited to, the following:

                 a)        15 U.S.C. § 1681(a)(l)(A) which states, "[a] person shall not furnish any

                 information relating to a consumer to any consumer reporting agency if the


2 In re Norman, 2006 WL 2818814 (Bankr.M.D.Ala. September 29, 2006) (citing Irby v. Fashion Bu (In re Irby),
337 BR. 293 (Bankr.N.D.Ohio 2005) (reporting discharged debts as past due on credit report); Helmes v. Wachovia
Bank, NA. (In re Helmes), 336 B.R. 105 (Bankr.E.D.Va.2005) (reporting the discharged debt as "over 120 days past
due" on credit report); Smith v. Am. Gen. Fin. Inc. (In re Smith), 2005 WL 3447645 (Bankr.N.D.Iowa Dec. 12, 2005)
(reporting discharged debts as "account charged offlpast due 180 days," "charged off as bad debt," and "charged-off'
on credit report); In re Miller, 2003 WL 25273851 (Bankr.D.Idabo Aug. 15, 2003) (listing discharged debts as still
due on the consumer's credit report); Vot v. Dynamic Recovery Sen's. (In re Vot), 257 B.R. 65
(Bankr.D.Colo.2000) (reporting discharged credit card debts as still owed on credit report); Carriere v. Proponent
Fed. Credit Union. 2004 WL 1638250 (W.D.La. July 12, 2004) (reporting discharged debts as "charged off' and
"past due 180 days" on credit report)).




                                                      Page 6
        Case 2:09-cv-00648-WKW-WC Document 1 Filed 07/10/09 Page 7 of 16




                  person knows or has reasonable cause to believe that the information is

                  inaccurate."3

                  b)       15 U.S.C. § 1681(a)(1)(B) which states, "[a] person shall not furnish

                  information relating to a consumer to any consumer reporting agency if-

                           (i)      the person has been notified by the consumer, at the address

                           specified by the person for such notices, that specific information is

                           inaccurate; and

                           (ii)     the information is, in fact, inaccurate."

                  c)       15 U.S.C. § 168 1(a)(2) which states, "[a] person who -

                           (A)      regularly and in the ordinary course of business furnishes

                           information to one or more consumer reporting agencies about the

                           person's transactions or experiences with any consumer; and

                           (B)      has furnished to a consumer reporting agency information that the

                           person determines is not com plete or accurate, shall promptly notify the

                           consumer reporting agency of that determination and provide to the

                           agency any corrections to that information, or any additional information.

                           that is necessary to make the information provided by the person to the

                           agency complete and accurate, and shall not thereafter furnish to the

                           agency any of the information that remains not complete or accurate."



  As indicated herein, Defendant has either affirmed the validity of, or attempted to collect upon, these debts by
reporting the same to the CRAs subsequent to Plaintiffs discharge.




                                                       Page 7
      Case 2:09-cv-00648-WKW-WC Document 1 Filed 07/10/09 Page 8 of 16




                     (emphasis supplied).

22.   Defendants know that "parking" balances on consumer accounts will lead to the

      publication of false and defamatory information every time that consumer's credit reports

      are accessed. Because Plaintiffs credit reports have been accessed since the discharge,

      Plaintiff has been defamed in that such false information has been published to third

      parties.

23.   All actions taken by employees, agents, servants, or representatives of any type for

      Defendants were taken in the line and scope of such individuals' (or entities')

      employment, agency, or representation.

24.   Defendants' actions, engaging in a pattern or practice of parking balances on consumer

      accounts that have been discharged in bankruptcy, were malicious, wanton, reckless,

      intentional or willful, and performed with the desire to harm Plaintiff, with the

      knowledge that their actions would very likely harm Plaintiff, and that their actions were

      taken in violation of the law.

25.   The actions, omissions, misrepresentations, and violations of the FCRA, ADTPA, federal

      law, and state law of Defendants, regarding Plaintiffs discharged debts, as described

      herein, have proximately caused Plaintiff to suffer severe mental distress, mental and

      physical pain, embarrassment, and humiliation of which Plaintiff will in the future

      continue to suffer.

Defendants Eguifax. Experian and Trans Union:

26.   Defendants have failed to implement and/or follow "reasonable procedures to assure




                                             Page 8
      Case 2:09-cv-00648-WKW-WC Document 1 Filed 07/10/09 Page 9 of 16




      maximum possible accuracy" of the information they have published, and continue to

      publish, in consumer credit reports in violation of 15 U.S.C. § 1681 (e)(b).

27.   Indisputably, based upon the sheer volume of factually identical actions, Defendants

      should reasonably be aware of the inadequacy of their procedures and implement policies

      to improve the accuracy of the information they publish. The FTC's Official Staff

      Commentary § 603 item B states that "[a] consumer reporting agency must also adopt

      reasonable procedures to eliminate systematic errors that it knows about, or should

      reasonably be aware of, resulting from procedures followed by its sources of

      information."

28.   Defendants' intentional, reckless, and willful violations of the FCRA, ADTPA, federal

      law and state law has proximately caused Plaintiff to suffer severe mental distress,

      mental and physical pain, embarrassment, and humiliation which Plaintiff will in the

      future continue to suffer.

                           COUNT ONE
                         ALL DEFENDANTS
  VIOLATIONS OF THE FAIR CREDIT REPORTING ACT -15 U.S.C. 1681, et seq.

29.   Plaintiff incorporates by reference herein paragraphs one (1) through twenty-eight (28).

30.   In the entire course of their actions, Defendants willfully and/or negligently violated

      multiple provisions of the FCRA in one or more of the following respects:

             a)       By willfully and/or negligently failing, in the preparation of the consumer

             reports concerning Plaintiff, to follow reasonable procedures to assure maximum

             possible accuracy of the information they report as required by 15 U.S.C. §




                                             Page 9
      Case 2:09-cv-00648-WKW-WC Document 1 Filed 07/10/09 Page 10 of 16




              168 1(e)(b);

              b)      By willfully and/or negligently failing to comport with reinvestigation

              procedures listed within 15 U.S.C. § 168 ii;

              c)      By willfully and/or negligently failing to fulfill their duties as listed within

              section 15 U.S.C. § 168 ls-2, i.e. reporting information with actual knowledge of

              errors, reporting information after notice and confirmation of errors, failing to

              update and/or correct previously reported information determined to be inaccurate

              or incomplete, failing to provide notice of dispute, and failing to provide notice of

              closed account;

              c)      Defaming Plaintiff by publishing to third parties false information

              regarding Plaintiffs creditworthiness;

              d)      Invading the privacy of Plaintiff; and

              e)      Failing in their duty to prevent foreseeable injury to Plaintiff.

31.   The foregoing acts and omissions were undertaken by Defendants willfully, intentionally,

      and knowingly as part of their routine credit reporting and/or credit furnishing business,

      and in gross reckless disregard of the rights of Plaintiff.

32.   As a result of the above violations of the FCRA, Defendants are liable for Plaintiffs

      actual, compensatory, and statutory damages, and costs and attorneys fees under the

      FCRA.




                                              Page 10
      Case 2:09-cv-00648-WKW-WC Document 1 Filed 07/10/09 Page 11 of 16




                             COUNT TWO
                           ALL DEFENDANTS
      VIOLATIONS OF THE ALABAMA DECEPTIVE TRADE PRACTICES ACT
                      ALA. CODE 1975 §_8493 et seq.

33.   Plaintiff incorporates herein by reference paragraphs one (1) through thirty-two (32).

34.   The conduct described herein has caused actual confusion or misunderstanding as to the

      source, sponsorship, approval, or certification of services within the scope of the

      Alabama Deceptive Trade Practices Act, Ala. Code § 8-19-3.

35.   Such conduct is generally and specifically within the meaning of the Alabama Deceptive

      Trade Practices Act, Ala. Code § 8-19-3, et seq., and in the course of business that is

      prohibited, unfair, and deceptive.

36.   The foregoing acts and omissions of Defendants were undertaken by them willfully,

      intentionally, and knowingly as part of their routine debt collection business, and

      Plaintiff relied upon such representations as being lawful, yet such conduct is prohibited.

37.   The conduct described herein has tremendous potential to be repeated where other

      consumers similarly situated will be treated with the same unscrupulous, unethical, unfair

      and deceptive acts and practices.

38.   Defendants' unfair and deceptive acts have proximately caused emotional and actual

      damages, and Defendants are liable to Plaintiff for such injury.

                              COUNT THREE
                 DEFENDANTS VERIZON AND GREEN FINANCE
                NEGLIGENT. RECKLESS AND WANTON CONDUCT

39.   Plaintiff incorporates herein by reference paragraphs one (1) through thirty-eight (38).




                                            Page 11
      Case 2:09-cv-00648-WKW-WC Document 1 Filed 07/10/09 Page 12 of 16




40.   Defendants' acts, as described herein, were done so negligently and without care or

      concern for the well-being of Plaintiff

41.   As a proximate consequence of Defendants' negligence, Plaintiff has been caused to

      suffer severe emotional and mental distress, and Defendants are liable to Plaintiff for

      actual, compensatory, and punitive damages, costs and attorney's fees, and any other and

      further relief deemed appropriate by this Court.

                                       COUNT FOUR
                                     ALL DEFENDANTS
                                   INVASION OF PRIVACY

42.   Plaintiff incorporates by reference herein paragraphs one (1) through forty-one (41).

43.   Defendants' conduct, as described herein, constitutes an invasion of Plaintiffs privacy in

      that it intrudes into Plaintiffs private life, publishes private facts regarding Plaintiff, and

      places Plaintiff in a false light in the eyes of those to whom the publications are made.

44.   Defendants' actions were done so maliciously, without privilege, and with a willful intent

      to injury Plaintiff.

45.   As a proximate consequence of Defendants' invasion of Plaintiffs privacy, Plaintiff has

      been caused to suffer severe emotional and mental distress, and Defendants are liable to

      Plaintiff for actual, compensatory, and punitive damages, costs and attorney's fees, and

      any other and further relief deemed appropriate by this Court.

                                         COUNT FIVE
                                      ALL DEFENDANTS
                                        DEFAMATION

46.   Plaintiff incorporates by reference herein paragraphs one (1) through forty-five (45).




                                              Page 12
      Case 2:09-cv-00648-WKW-WC Document 1 Filed 07/10/09 Page 13 of 16




47.   Defendants published false information about Plaintiff by reporting to one or more of the

      CRAs, or other third parties, either a false account or balance.

48.   Likewise, Defendants published false information about Plaintiff each time Plaintiffs

      credit reports were accessed - which was the result intended by Defendants.

49.   The publications and defamations were done so maliciously, without privilege, and with

      a willful intent to injure Plaintiff.

50.   As a proximate consequence of Defendants' false reporting or publishing, Plaintiff has

      been caused to suffer severe emotional and mental distress, and Defendants are liable to

      Plaintiff for actual, compensatory, and punitive damages, costs and attorney's fees, and

      any other and further relief deemed appropriate by this Court.

                                 COUNT SIX
                    DEFENDANTS VERIZON AND GREEN FINANCE
                            MISREPRESENTATION

51.   Plaintiff incorporates by reference herein paragraphs one (1) through fifty (50).

52.   Defendants intentionally, maliciously, recklessly and/or negligently misrepresented

      material facts in that they falsely represented to others that Plaintiff owes money to that

      Defendant.

53.   Defendants intend that those who review the credit reports of Plaintiff will rely upon the

      misrepresentations and suppressions of material fact related to the balance owed and the

      lack of indication that the accounts were discharged in bankruptcy.

54.   Defendants intended that the justifiable and reasonable reliance by others would

      adversely affect Plaintiff.




                                              Page 13
      Case 2:09-cv-00648-WKW-WC Document 1 Filed 07/10/09 Page 14 of 16




55.    As a proximate consequence of Defendants' intentional misrepresentation, Plaintiff has

       been caused to suffer severe emotional and mental distress, and Defendants are liable to

       Plaintiff for actual, compensatory, and punitive damages, costs and attorney's fees, and

       any other and further relief deemed appropriate by this Court.

                                   COUNT SEVEN
                       DEFENDANTS VERIZON AND GREEN FINANCE
                        DECLARATORY AND INJUNCTIVE RELIEF

56.    Plaintiff incorporates herein by reference paragraphs one (1) through fifty-five (55).

57.    A dispute exists as to whether Defendants have violated the FCRA, ADTPA, federal law

       or state law.

58.    Plaintiff is entitled to injunctive relief, a declaratory judgment, and a determination that

       Defendants violated the FCRA, ADTPA, federal law, and state law, and Plaintiff is

       similarly entitled to an order enjoining said acts.

59.    As a result of Defendant' t-F actions, omissions and violations, Plaintiff is entitled to

       actual, compensatory, statutory and/or punitive damages, reasonable attorneys fees, and

       all costs for time lost at work and litigating this matter.

60.    Defendants' actions, omissions, and violations, as alleged herein, constitute the negligent

       and intentional infliction of mental and emotional distress upon Plaintiff, proximately

       causing Plaintiff to suffer great mental distress, mental and physical pain,

       embarrassment, humiliation, and will in the future to continue to suffer the same.

                                     PRAYER FOR RELIEF

       WHEREFORE, THE PREMISES CONSIDERED, Plaintiff respectfully prays that

judgment be entered against Defendants, jointly and severally, by this Court for the following:


                                               Page 14
     Case 2:09-cv-00648-WKW-WC Document 1 Filed 07/10/09 Page 15 of 16




      a)     Enter injunctive and corresponding declaratory relief establishing the foregoing

             conduct of Defendants Verizon and Green Finance to be unlawful, enjoining such

             Defendant from continuing to engage in such conduct, and granting such

             additional equitable relief as may be appropriate;

      b)     Award Plaintiff actual damages;

      c)     Award Plaintiff punitive damages;

      d)     Award Plaintiff statutory damages where applicable;

      e)     Award Plaintiff compensatory damages for mental and emotional distress,

             humiliation and embarrassment;

      f)     Award Plaintiff reasonable attorney's fees and costs of this litigation; and

      g)     Grant such other and further relief as this Honorable Court deems just and proper.

      RESPECTFULLY SUBMITTED this the2009


                                                              y Brian Bush (BUSO28)
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                                                      Bar Id. #: ASB-7306-A54B
                                                      anthonybbush@yahoo.com

THE DEFENDANTS MAY BE SERVED AT THE FOLLOWING ADDRESSES:

VERIZON WIRELESS, INC.
do The Corporation Trust Company
1209 Orange Street
Wilmington, DE 19801

GREEN FINANCE COMPANY
69 Main Street

                                            Page 15
     Case 2:09-cv-00648-WKW-WC Document 1 Filed 07/10/09 Page 16 of 16




Georgetown, Georgia 39854

EQUIFAX INFORMATION SERVICES, LLC
do CSC Lawyers Incorporating Service, Inc.
150 S. Perry Street
Montgomery, Alabama 36104

EXPERIAN INFORMATION SOLUTIONS, INC.
do The Corporation Company
2000 Interstate Park Drive, Suite 204
Montgomery, Alabama 36109




                                        Page 16
